Case 6:09-cr-00009-JCB-KNM         Document 923        Filed 11/21/16     Page 1 of 1 PageID #:
                                          3011



                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


 UNITED STATES OF AMERICA,                       §
                                                 §
                                                 § CASE NUMBER 6:09-CR-00009-RC
 v.                                              §
                                                 §
                                                 §
 MICHAEL DAIN BONNER                             §
                                                 §



              ORDER ADOPTING REPORT AND RECOMMENDATION OF
                     UNITED STATES MAGISTRATE JUDGE

        The above entitled and numbered criminal action was referred to United States

 Magistrate Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of Magistrate

 Judge John D. Love which contains his proposed findings of fact and recommendations for the

 disposition of such action has been presented for consideration. The parties have waived their

 objections to the Report and Recommendation.

        The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as

 the findings and conclusions of this Court and ORDERS that Defendant Michael Dain Bonner

 be committed to the custody of the Bureau of Prisons for a term of imprisonment of 12 months

 and 1 day with no supervised release to follow, to be served consecutively to the term of

 imprisonment imposed in case number 6:15-cr-0004-001.

       So ORDERED and SIGNED this 21 day of November, 2016.




                                                   ___________________________________
                                                   Ron Clark, United States District Judge
